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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 IN RE: JOHNSON & JOHNSON TALCUM MDL NO. 16-2738 (FLW) (LHG)
 POWDER PRODUCTS MARKETING,
 SALES PRACTICES, AND PRODUCTS
 LIABILITY LITIGATION


                   [PROPOSED] CASE MANAGEMENT ORDER NO. 1:
                          Organization of Plaintiffs’ Counsel

   I.   ORGANIZATION OF PLAINTIFFS’ COUNSEL

           A. Plaintiffs’ Co- Lead Counsel

        The Court designates the following to serve as Plaintiffs’ Co-Lead Counsel:

        P. Leigh O’Dell                               Michelle A. Parfitt
        BEASLEY, ALLEN, CROW, METHVIN,                ASHCRAFT & GEREL, LLP
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           B. Plaintiffs’ Liaison Counsel

        The Court designates the following to serve as Plaintiffs’ Liaison Counsel:

        Christopher M. Placitella
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          C. Plaintiffs’ Executive Committee

       The Court designates the following to serve as the Plaintiffs’ Executive Committee:

       Warren T. Burns                               Richard Golomb
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       Richard H. Meadow                             Hunter J. Shkolnik
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       richard.meadow@lanierlawfirm.com


          D. Plaintiffs’ Steering Committee

       The Court designates the following to serve on the Plaintiffs’ Steering Committee:

       Laurence S. Berman                           Timothy G. Blood
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       Kristie M. Hightower                          Daniel R. Lapinski
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 IT IS SO ORDERED

 Dated: ___________________                _______________________________
                                           HON. FREDA L. WOLFSON




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